Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 1 of 56




                    Exhibit A
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 2 of 56



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION
600 Pennsylvania Avenue, N.W.
Washington, DC 20580

                 Plaintiff,
                                                         Case No.: 19-cv-1080 (JDB)
            v.

SURESCRIPTS, LLC                                               REDACTED
2800 Crystal Drive
Arlington, VA 22202

                 Defendant.


                      Complaint for Injunctive and Other Equitable Relief

       Plaintiff Federal Trade Commission (“FTC”), by its designated attorneys, petitions this

Court pursuant to Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), for a permanent injunction

and other equitable relief, including equitable monetary relief, against Defendant Surescripts,

LLC (“Surescripts”) to prevent unfair methods of competition in violation of Section 5(a) of the

FTC Act, 15 U.S.C. § 45(a).

                                I.      NATURE OF THE CASE

       1.        Surescripts, a health information technology company, has engaged in a long-

running anticompetitive scheme to maintain its monopolies over two separate, complementary

markets: electronic prescription routing (“routing”) and eligibility, which are often collectively

referred to as “e-prescribing.” Routing is the transmission of prescription and prescription-related

information from a prescriber (via the prescriber’s electronic health record (“EHR”) system) to a

pharmacy. Eligibility is the transmission of a patient’s formulary and benefit information from a

payer (usually the patient’s pharmacy benefit manager (“PBM”)) to a prescriber’s EHR.
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 3 of 56



       2.      In 2009, Surescripts had monopolies over routing and eligibility. With both of

these markets poised to experience explosive growth due to federal incentives for e-prescribing,

Surescripts feared that other health information technology companies could threaten its

dominant positions. To neutralize these competitive threats, Surescripts took a series of

anticompetitive actions to protect and maintain its monopolies. This multifaceted anticompetitive

scheme has been remarkably successful: Despite a massive increase in e-prescribing over the

past decade, Surescripts has prevented any meaningful competition, maintaining at least a 95%

share (by transaction volume) in each market.

       3.      First, Surescripts changed its pricing policies to require long-term exclusivity

from nearly all of its routing and eligibility customers. Surescripts designed its new pricing to

ensure that its customers would pay a higher price on all of Surescripts’s transactions unless they

were “loyal” to Surescripts, i.e., used Surescripts exclusively. With its 95%-plus share in both

markets, Surescripts knew that no competitor could ever offer customers enough savings to

compensate customers for the skyrocketing costs the customers would face by paying

Surescripts’s higher “non-loyal” price on their remaining Surescripts transactions. Surescripts’s

web of loyalty contracts prevented competitors from attaining the critical mass necessary to be a

viable competitor in either routing or eligibility. Those effectively exclusive contracts foreclosed

at least 70% of each market, eliminating multiple competitive attempts from other companies,

such as Emdeon, that offered lower prices and greater innovation. All of this was done

intentionally, as one Surescripts vice president gloated about how Surescripts’s loyalty contracts

scheme excluded a competitor, Emdeon: “It[’]s nice when a plan comes together.”

       4.      Second, Surescripts has engaged in a long-running campaign of threats and other

non-merits based competition to ensure that no other competitor could get a toehold in either



                                                 2
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 4 of 56



market. As one example, when Allscripts, a large EHR customer of Surescripts, attempted to

enter into a non-exclusive agreement with Surescripts in 2014 so Allscripts could use Emdeon,

Surescripts launched a series of threats—what senior Surescripts executives called their “nuclear

missiles.” These threats were intended to secure Allscripts’s continued exclusive use of

Surescripts and quash the threat from Emdeon.

       5.      Third, Surescripts eliminated the competitive risk posed by RelayHealth, a

subsidiary of McKesson Corporation, in routing. Surescripts feared that RelayHealth—with its

extensive connections to many of the same customers Surescripts wanted to lock up via its

loyalty scheme—had a “natural ability to capture 15-20% of transaction volume.” Surescripts

understood that competition from RelayHealth would have “dropped the price [for routing] down

to 2 or 3 cents at any time.” To eliminate this competitive risk, in 2010, Surescripts entered into

an agreement that prohibited RelayHealth from competing in the routing market for six years.

Although this agreement facially preserved the existing “value-added reseller” relationship

between the two companies, Surescripts executives have repeatedly stated that, from

Surescripts’s perspective, the sole benefit of that ongoing relationship is that it sidelines

RelayHealth as a competitor. Although the formal non-compete is no longer in the agreement,

strict contract provisions continue to prevent RelayHealth from competing against Surescripts in

routing, ensuring that the routing market suffers from the effects of that non-compete today.

       6.      Due to Surescripts’s ongoing conduct, there is no meaningful competition in the

markets for routing or eligibility. The decade-long monopolies in these markets have produced

predictable effects: higher prices, reduced quality, stifled innovation, suppressed output, and

stymied alternative business models.




                                                  3
         Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 5 of 56



                               II.    JURISDICTION AND VENUE

        7.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331, 1337(a), and 1345.

        8.       This Court has personal jurisdiction over Surescripts because Surescripts has the

requisite constitutional contacts with the United States of America pursuant to 15 U.S.C. § 53(b).

        9.       Surescripts sells e-prescribing services to customers located in this district.

Surescripts has entered into e-prescribing contracts with businesses and healthcare providers

located in this district.

        10.      Venue in this district is proper under 15 U.S.C. § 22, 28 U.S.C. § 1391(b) and (c),

and 15 U.S.C. § 53(b). Surescripts resides, transacts business, committed an illegal or tortious

act, or is found in this district.

        11.      Surescripts’s general business practices, and the unfair methods of competition

alleged herein, are “in or affecting commerce” within the meaning of Section 5 of the FTC Act,

15 U.S.C. § 45.

        12.      Surescripts is, and at all relevant times has been, a corporation, as the term

“corporation” is defined in Section 4 of the FTC Act, 15 U.S.C. § 44.

                                       III.    THE PARTIES

        13.      Plaintiff FTC is an administrative agency of the United States Government,

established, organized, and existing pursuant to the FTC Act, 15 U.S.C. § 41, et seq., with its

principal offices in the District of Columbia. The FTC is vested with authority and responsibility

for enforcing, among other things, Section 5 of the FTC Act, 15 U.S.C. § 45, and is authorized

under Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), to initiate court proceedings to enjoin

violations of any law the FTC enforces.



                                                   4
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 6 of 56



        14.     Defendant Surescripts is a for-profit Delaware limited liability company, with its

principal place of business at 2800 Crystal Drive, Arlington, VA 22202. Except where otherwise

specified, “Surescripts” refers to Surescripts, LLC and all corporate predecessors, subsidiaries,

successors, and affiliates.

        15.     Surescripts is engaged in the business of selling e-prescribing services, including

routing and eligibility. In 2016, Surescripts generated over               in annual revenue, of

which over                came from routing and eligibility.

                                     IV.     BACKGROUND

        A.      Electronic prescribing consists of two transactions.

        16.     E-prescribing is the electronic transmission of prescription or prescription-related

information between a prescriber (through the prescriber’s EHR), a pharmacy, and a payer

(usually a PBM), either directly or through an intermediary.

        17.     E-prescribing developed as a safer, more accurate, efficient, and lower-cost means

for prescribers (via their EHRs), pharmacies, and PBMs to communicate and process patient

prescriptions. The benefits of e-prescribing include fewer medical errors due to poor

handwriting, greater awareness of potential adverse drug interactions, more effective

communication of a patient’s insurance coverage and generic alternatives, and increased

adherence (the likelihood that a patient will pick up a prescription at a pharmacy after leaving the

prescriber’s office).

        18.     The core e-prescribing services are routing and eligibility. Although these two

services are usually provided to prescribers together in the same prescribing workflow, each

transaction serves a different purpose, delivers different information, and occurs between

different customers.



                                                  5
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 7 of 56



       19.      Routing is the transmission of prescription and prescription-related information

between the prescriber’s EHR and a pharmacy. Routing transactions also include the

transmission of a pharmacy’s request to a prescriber’s EHR for a refill of a prescription.

       20.      Eligibility is the transmission of a patient’s formulary and benefit information

from a PBM to a prescriber’s EHR prior to the patient’s appointment. This information allows a

prescriber to know, for example, which drugs are covered by the patient’s drug benefit plan, the

location of covered drugs on a patient’s health insurance company’s formulary, and what copay

(if any) a patient will have to pay to obtain a prescribed drug. Eligibility also informs the

prescriber of lower-cost alternatives, such as generic drugs.

       21.      Each of the routing and eligibility transactions is governed by its own industry-

wide standard created by the National Council for Prescription Drug Programs (“NCPDP”).

There is no patent or other intellectual property protection for either the routing or the eligibility

transactions.

       B.       Routing and eligibility are two-sided networks with a “chicken-and-egg
                problem.”

       22.      Providing routing requires building a two-sided network (or platform) linking

EHRs to pharmacies. Providing eligibility requires building a two-sided network (or platform)

linking EHRs to PBMs.

       23.      Two-sided platforms experience what economists refer to as “indirect network

effects.” That means that the value to participants on one side increases when there are more

participants on the other side.

       24.      Both routing and eligibility have significant indirect network effects. For routing,

pharmacies get more value from a network that connects to more EHRs because there is a greater

supply of prescribers that can send patients to those pharmacies to purchase the patients’


                                                   6
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 8 of 56



prescribed drugs. And EHRs get more value from a network that connects to more pharmacies

because prescribers can send prescriptions to more pharmacies, which increases the likelihood

that patients will be able to use their preferred pharmacy.

       25.     Similarly, for eligibility, PBMs get more value from a network that connects more

EHRs, as the increased distribution of a PBM’s formulary and benefit information helps more

prescribers prescribe on-formulary drugs and thereby saves PBMs more money. And the EHRs

get more value from a network that connects to more PBMs because EHRs are able to obtain

more complete insurance benefit information, such as for those patients who have multiple

insurers.

       26.     Another feature of many two-sided networks is that customers on one side of the

network will not join the network unless they are confident that they will be able to access

enough customers on the other side and thereby derive enough value from using the

network. Neither side will join unless they believe the other side will. This gives rise to what

economists refer to as the “chicken-and-egg problem.” Solving this coordination problem is key

to developing a viable platform.

       27.     Routing and eligibility both face the chicken-and-egg problem, as the industry

itself has observed. For routing, a network is unlikely to persuade EHRs to join the network, and

incur the costs associated with connecting, unless those EHRs believe they will be able to access

a substantial number of pharmacies on that network. And a routing network is unlikely to

convince pharmacies to join the network, and incur the costs associated with connecting, unless

those pharmacies believe they will be able to access a substantial number of EHRs participating

in that network.




                                                 7
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 9 of 56



       28.     For eligibility, a network is unlikely to persuade EHRs to join the network, and

incur the costs associated with connecting, unless those EHRs believe they will be able to access

a substantial number of PBMs on that network. And an eligibility network is unlikely to

convince PBMs to join the network, and incur the costs associated with connecting, unless those

PBMs believe they will be able to access a substantial number of EHRs participating in that

network.

       29.     Creating viable routing and eligibility networks requires solving the chicken-and-

egg problem and providing sufficient value to both sides of these platforms. Economists

recognize that to solve the chicken-and-egg problem networks must get a “critical mass” of

customers on both sides to sign up. If a network cannot get a critical mass on both sides, then it is

unlikely to be able to operate a viable platform.

       30.     In its submissions to the FTC, Surescripts has acknowledged that the chicken-and-

egg problem exists as a barrier to entry in each of the markets for routing and eligibility.

       31.     When a new platform starts, it can achieve critical mass either by getting

customers who have not signed on to any platform or by getting customers from an existing

platform. Customers of an existing platform face less cost and risk when they can use both their

current platform and the new platform. Economists refer to the use of more than one platform

simultaneously as “multihoming.” Multihoming is common and new platforms routinely rely on

multihoming to enter and compete with existing platforms.

       32.     Nearly all routing and eligibility customers use Surescripts’s platform, so

competitors in general must compete for customers already using Surescripts’s routing and

eligibility platforms. Because customers often prefer to avoid the cost and risk of a complete

switch to an entrant, the entrant is most likely to win business through multihoming. Customers



                                                    8
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 10 of 56



want to multihome because it encourages price competition and innovation in e-prescribing, and

a small handful do multihome. As alleged below, Surescripts intentionally set out to substantially

increase all routing and eligibility customers’ costs to multihome, significantly elevating the

critical mass a Surescripts competitor would need to become a viable network in either routing or

eligibility. Absent Surescripts’s conduct, entrants in routing and/or eligibility would have used

multihoming to overcome the chicken-and-egg entry barrier through normal, market-based

competition.

       C.        Due to federal policies and incentives, the e-prescribing industry has
                 experienced extraordinary growth.

       33.       In 2008, there had been limited adoption of e-prescribing by prescribers. Congress

thus acted twice to encourage expansion of e-prescribing and its many benefits.

       34.       First, on July 15, 2008, Congress passed the Medicare Improvements for Patients

and Providers Act (“MIPPA”). MIPPA, through regulations implemented by the Centers for

Medicare and Medicaid Services (“CMS”), adopted a carrot-and-stick approach to encourage

prescribers to e-prescribe. As the carrot, MIPPA provided financial incentives to prescribers

equivalent to a reimbursement bonus based on the prescriber’s total charges for professional

services to Medicare and Medicaid. As the stick, MIPPA established penalties in the form of

reduced Medicare and Medicaid reimbursements to prescribers if a prescriber was not a

“successful electronic prescriber.” To be considered a successful electronic prescriber under

MIPPA, a prescriber must use an EHR that, among other things, allows the prescriber to obtain

eligibility information and “electronically transmit prescriptions” for a specified fraction of total

prescriptions.

       35.       Second, on February 17, 2009, Congress passed the Health Information

Technology for Economic and Clinical Health Act (“HITECH Act”), which further expanded the


                                                  9
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 11 of 56



regulatory regime CMS implemented to grow e-prescribing. The HITECH Act encourages the

“meaningful use” of EHRs throughout the United States. It does so by authorizing carrot-and-

stick financial incentives and payment reductions to prescribers depending on whether they

“meaningfully used” EHR technology. Through today, CMS has paid out over $38 billion in

meaningful use financial incentives, which does not account for the effect of the potential

penalties.

       36.     One meaningful use objective is the ability to “[g]enerate and transmit . . .

prescriptions electronically.”

       37.     To prescribe electronically—and thus obtain the financial incentives and later

avoid penalties described above—prescribers (via their EHRs) need to connect to pharmacies

and PBMs.

       38.     From 2008 to 2016, the number of routing and eligibility transactions grew over

23-fold, from 147 million to 3.5 billion, and the percentage of U.S. physicians e-prescribing

grew to nearly 70%. In 2017, 77% of all prescriptions were delivered electronically.

       39.     This growth was primarily driven by MIPPA and the HITECH Act. Surescripts

agrees, writing in 2014, “[w]e believe the dramatic growth in adoption and use [of e-prescribing]

is a function of the combined forces of federal financial incentives and an aggressive response by

the technology sector.” As Surescripts’s former CEO Harry Totonis testified, “meaningful use

totally helped e-prescribing happen.”

       D.      Surescripts was well positioned to capitalize on e-prescribing’s explosive
               growth.

       40.     Surescripts, LLC was formed on May 9, 2008, through a cashless merger of two

companies: RxHub LLC (“RxHub”) and SureScripts Systems, Inc. (“SureScripts Systems”). The




                                                10
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 12 of 56



merger was not reportable under the Hart-Scott-Rodino Act and neither the U.S. Department of

Justice nor the FTC reviewed the merger.

        41.     RxHub was the first major eligibility network. It was formed by three PBMs in

February 2001.

        42.     Six months later, in response to RxHub’s formation, two pharmacy trade groups

formed SureScripts Systems. SureScripts Systems primarily focused on routing.

        43.     As a result of the merger, Surescripts possessed at least 95% of the routing market

(by transaction volume) and at least 95% of the eligibility market (by transaction volume).

        44.     Surescripts is currently owned by CVS Health (“CVS”) (17%) (a pharmacy and

PBM), Express Scripts (33%) (a PBM), the National Association of Chain Drug Stores (25%) (a

trade association), and the National Community Pharmacists Association (25%) (a trade

association).

        45.     No EHR or prescriber has an ownership interest in Surescripts.

        46.     No pharmacy or PBM, other than CVS and Express Scripts, has a direct

ownership interest in Surescripts.

        47.     No pharmacy, PBM, or EHR has a controlling interest in Surescripts.

        48.     Surescripts provides connections between EHRs, pharmacies, and PBMs for

routing and eligibility.

        49.     Surescripts charges pharmacies (either directly or indirectly via a reseller or other

third-party intermediary, such as a pharmacy technology vendor (“PTV”)) a fee for each routing

transaction and charges PBMs a fee for each eligibility transaction.

        50.     In 2016, Surescripts received nearly                in routing and eligibility fees

from pharmacies, PBMs, and intermediaries, which accounted for over             of its total revenue.



                                                 11
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 13 of 56



       51.     Surescripts pays EHRs a fee for each routing and eligibility transaction, but only

if the EHR uses Surescripts exclusively. The industry commonly refers to these disbursements as

“incentive payments.”

       52.     In 2016, Surescripts paid over               in incentive payments to EHRs.

       53.     Surescripts follows the NCPDP standards for routing and eligibility transactions.

       54.     Surescripts creates and manages its own certification processes for its network,

which means that customers (i.e., EHRs, pharmacies, PBMs, and intermediaries) must obtain

certification from Surescripts and sign a contract before they can use Surescripts’s network.

                          V.      ANTICOMPETITIVE CONDUCT

       55.     In 2009, Surescripts, with its extensive connectivity to e-prescribing stakeholders,

was well positioned to benefit from enormous growth in routing and eligibility, which was

catalyzed by MIPPA, the HITECH Act, CMS regulations, and a broader movement towards

computerizing health records. Surescripts foresaw a vast, open, and untapped market. However,

other companies saw the same potential.

       56.     Surescripts faced substantial competitive threats to its routing and eligibility

monopolies and was concerned that competition would drive the “commoditization” of routing

and eligibility, reduce prices for each, and “devastate” Surescripts’s cash flow.

       57.     In late September 2009, Surescripts’s management explained to its board of

directors that these “competitive pressures require precipitous price drops, down near or below

our average unit costs (~5c)” and that, should Surescripts “lose 2-3 midsize pharmacy customers

or a large PBM” to a competitor, “Surescripts would not be financially viable.”

       58.     To prevent lower prices from competition, Surescripts substantially raised nearly

all its customers’ costs to multihome, rendering the chicken-and-egg problem insoluble for a



                                                 12
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 14 of 56



competitor. The result has been the total exclusion of all meaningful competition in routing and

eligibility, higher prices, reduced innovation, lower output, and no customer choice.

       A.      Surescripts learns of an emerging threat to its monopolies.

       59.     On July 1, 2009, a health information technology company called Emdeon (n/k/a

eRx Network) acquired eRx Network, a competing routing network. Although eRx Network only

transmitted approximately 5% of routing market transactions at that time, it was well positioned

for significant growth as eRx Network maintained connectivity with Allscripts, a large EHR, and

PDX, a PTV providing routing connectivity that marketed primarily to medium-to-large sized

retail pharmacy chains.

       60.     Surescripts recognized that competition from Emdeon would “drive lower prices.”

       61.     On July 22, 2009, Surescripts’s Chief Strategy Officer, Scott Barclay, explained

that with “lower prices and further capabilities, the new Emdeon could significantly compete”

with Surescripts.

       62.     If Emdeon could provide lower prices to pharmacies, higher incentives to EHRs,

or both, Emdeon could attract enough customers to its routing network and solve the chicken-

and-egg problem. Surescripts understood that if additional customers were to multihome with

Emdeon, “[t]hen it becomes a price game at pharmacy and an incentive game at the POC [point

of care, i.e., prescribers/EHRs]. . . . [E]ach network fights for itself and the market share game

becomes paramount quickly.”

       63.     Surescripts thus acted to eliminate the outbreak of competition—an outcome

where one set of customers (pharmacies and PBMs) would pay lower prices, another set of

customers (EHRs) would receive higher incentive payments, but Surescripts would lose its

supracompetitive profits.



                                                 13
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 15 of 56



       B.       Surescripts responds to competition by devising and implementing an
                anticompetitive web of exclusive contracts.

       64.      In response to the threat from Emdeon and other competitors, Surescripts, with its

95%-plus established share in both markets, sought to eliminate all competition by significantly

raising its customers’ costs to multihome, thereby dramatically increasing the critical mass

necessary for a Surescripts competitor to become viable. Surescripts did so by blanketing the

markets for routing and eligibility with loyalty pricing and exclusivity contracts.

       65.      Beginning in mid-2009, Surescripts devised a scheme to include “loyalty”

provisions in contracts with customers on both sides of the routing and eligibility markets, which

conditioned discounts or payments on actual or de facto exclusivity. Loyalty discounts apply to

Surescripts’s pharmacy, PTV, and PBM customers. Loyalty payments apply to Surescripts’s

EHR customers.

             1. The structure of Surescripts’s pharmacy, PTV, and PBM contracts.

       66.      For pharmacies and PTVs to receive a loyalty discount, a customer must be

exclusive to Surescripts. To be considered exclusive, Surescripts requires that a pharmacy and

PTV customer route 100% of its transactions “through and only through the Surescripts

network.” This requirement only applies to Surescripts-connected entities. Because Surescripts

maintains connectivity to nearly all EHRs, this provision effectively requires 100% exclusivity

from pharmacies and PTVs. Surescripts generally refers to these exclusive customers as “loyal”

customers and those that are not exclusive as “non-loyal.”

       67.      The same structure exists for PBMs in eligibility.

       68.      Under these loyalty provisions, because pharmacies, PTVs, and PBMs must use

Surescripts for all or nearly all of their transactions, becoming non-exclusive and losing the

loyalty discounts results in a significant cost increase. Surescripts’s loyalty pricing scheme


                                                 14
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 16 of 56



therefore substantially increases the cost of multihoming through a second network for nearly all

pharmacies, PTVs, and PBMs. Though the difference in the per-transaction price between a loyal

and non-loyal transaction is often a few pennies, many pharmacy chains and PBMs send millions

of transactions across the Surescripts network and a difference of a few pennies results in

hundreds of thousands or even millions of dollars in cost increases.

       69.     These non-loyal per-transaction prices (which are additional costs to customers)

are not justified by any increased costs faced by Surescripts in transmitting routing or eligibility

information. Rather they exist only to act both as penalties to those customers that may consider

being non-loyal to Surescripts and as an exclusionary tactic against any competitor in routing or

eligibility, thus reinforcing and maintaining Surescripts’s monopolies in routing and eligibility.

       70.     For routing, Surescripts’s per-transaction price to non-loyal pharmacies and PTVs

varies by volume but can be as high as        more than the price to loyal pharmacies or PTVs.

       71.     For eligibility, Surescripts’s per-transaction price to non-loyal PBMs varies by

volume but can reach        more than the price to loyal PBMs.

       72.     In many contracts, Surescripts also requires customers to pay the price differential

between the loyal and non-loyal price for historical transaction volume retroactive over the term

of the contract. For many customers, these additional clawback obligations total millions of

dollars and substantially strengthen the lock-up effect of the contracts.

       73.     Surescripts refers to these clawback provisions as the “teeth” of its loyalty

contracts.

       74.     Exhibit Two (A) of Surescripts’s September 28, 2010 contract with PTV customer

                 provides an illustrative example of the “teeth” of Surescripts’s contracts:

       If, during the Loyalty Term, Aggregator [i.e.,          ] ceases to route all
       of its electronic Prescription Routing messages to Prescribing Participants

                                                 15
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 17 of 56



        through, and only through, the Surescripts network and fails to cure within the
        applicable cure period, then Surescripts shall immediately cease calculating the
        Loyalty Discount and Aggregator agrees to pay Surescripts the amount of the
        Loyalty Discount received by Aggregator during the Loyalty Term.

        75.      Similarly, Surescripts’s June 2, 2010 contract with PBM customer

provides:

        If, during the Loyalty Term, PBM ceases to route all of its electronic Prescription
        History and Benefit (Ambulatory) messages to Participants through, and only
        through, the Surescripts network, then Surescripts shall immediately cease
        applying the Loyalty Eligibility Transaction Fee price and PBM agrees to pay
        Surescripts the difference in the amount of Transaction Fees PBM would incur
        had PBM paid the [non-loyal price] versus the [loyal price] as of the Amendment
        Effective Date.

              2. The structure of Surescripts’s EHR contracts.

        76.      Surescripts imposes the same loyalty scheme on EHRs, except in reverse by

conditioning any incentive payments on an EHR’s exclusivity to Surescripts for routing,

eligibility, or both.

        77.      Under the EHR loyalty program as implemented for most EHRs, if an EHR

agrees to be exclusive only in routing, Surescripts pays the EHR an incentive fee of         of the

routing fee paid by pharmacy customers to Surescripts for each routing transaction. If an EHR

agrees to be exclusive only in eligibility, Surescripts pays the EHR an incentive fee of       of

the eligibility fee paid by PBM customers to Surescripts. If the EHR agrees to be exclusive in

both routing and eligibility, Surescripts pays the EHR a higher      incentive fee on both

transactions. Nearly all EHRs participating in the loyalty program agree to exclusivity on both

transactions.

        78.      If an EHR decides to multihome and use Surescripts for less than 100% of its

transactions, Surescripts terminates incentive fees to that EHR. In other words, Surescripts raises

the EHR’s price by reducing the EHR’s incentive fees to zero. As with the penalty price


                                                16
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 18 of 56



Surescripts charges non-loyal pharmacies, PTVs, and PBMs, there are no legitimate competitive

reasons (e.g., increased costs) for Surescripts to raise its EHR price to zero for non-loyal EHRs.

       79.     As with its clawback provisions to pharmacies, PTVs, and PBMs, Surescripts also

requires the EHR to pay back the incentive fees for historical transaction volume if the EHR

violates the exclusivity commitment. Some contracts require repayment on transactions over the

full term of the contract. For example, Surescripts’s April 14, 2010 contract with EHR

                provides:

       If, during the Loyalty Term, Surescripts determines that Aggregator [i.e.,
                       ] has failed to comply with the loyalty requirements . . .
       Aggregator shall promptly pay back to Surescripts the amount of Incentive Fees
       paid by Surescripts to Aggregator during the Loyalty Term, and Aggregator shall
       no longer receive the Incentive Fees.

       80.     Surescripts locked up one leading EHR,          , through a unique contracting

strategy intended to address the nature of       ’s business model. Unlike most EHRs,           does

not aggregate connectivity to Surescripts on behalf of its customers, which are typically large

health systems or hospital networks.




       81.     Under Surescripts’s contract with         , to receive incentive fees,




                          , depriving that EHR customer of e-prescribing access to nearly all

pharmacies and PBMs. While the terms of its loyalty incentive contract with             differed from

other EHRs, Surescripts considered           to be loyal, writing in September 2010 that       is loyal

“for all appropriate purposes.”
                                                   17
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 19 of 56



       82.      Surescripts’s contracts with nearly all individual     customers also contain

express exclusivity requirements that require the health system to maintain exclusivity to

Surescripts for the term of the contract.      clients recognized these provisions prevented

multihoming: “In effect . . . by contracting with Surescripts, [the     customer] would not be

able to use other e-prescribing networks.”

             3. Surescripts structured the contracts to lock up the routing and eligibility
                markets.

       83.      Surescripts implemented loyalty pricing and exclusivity requirements to make the

chicken-and-egg problem insurmountable for any competitor in either routing or eligibility (or

both). Specifically, Surescripts’s loyalty program substantially raises its customers’ costs to

multihome, significantly elevating the critical mass a competing platform would need to become

viable, rendering the chicken-and-egg problem insoluble. As Surescripts explained in a

presentation to its board, the new loyalty strategy would “[p]rotect [Surescripts’s] most critical

asset—[its] network—by addressing competitive market pressures and locking-in key

customers.”

       84.      Nearly all of Surescripts’s loyalty pricing and exclusive contracts in both routing

and eligibility have an initial term of three years or more. With some larger customers, the terms

are as long as five years.

       85.      Surescripts prefers to employ long-term contracts because they enable Surescripts

to lock up its customers, preventing them from using a competitor’s network. As Surescripts’s

then-Vice President of Account Management explained in a February 2010 email to the

company’s then-CEO, “[o]ur 3 year commitments keep[] our competition out of those

customers.”




                                                 18
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 20 of 56



       86.     Nearly all of Surescripts’s loyalty pricing and exclusive contracts in both routing

and eligibility automatically renew for one year unless either party gives notice.

       87.     In early 2010, as demand for routing and eligibility was growing and inviting

entry, Surescripts began executing loyalty pricing with nearly all of its e-prescribing customers.

Most of these contracts had an effective date retroactive back to January 1, 2010.

       C.      Surescripts uses RelayHealth to extend the reach of its exclusive contracts
               and solidify its monopolies.

       88.     While Surescripts was able to push its loyalty pricing and exclusive contracts onto

its direct customers, Surescripts was only able to lock up customers with whom Surescripts had a

direct contract. But Surescripts was also concerned about a large subset of customers that it did

not have direct contracts with (and thus did not have exclusivity commitments from)—namely

those customers that connected to Surescripts through RelayHealth.

       89.     RelayHealth is a health information technology company that is a subsidiary of

McKesson. Since 2003, RelayHealth has contracted with Surescripts to resell the routing

transaction to a subset of pharmacy and PTV end-customers. RelayHealth contracts with these

pharmacies and PTVs, but Surescripts does not. RelayHealth also provided Surescripts’s routing

connectivity to some EHRs until 2015, but it no longer does so except for EHRs associated with

McKesson.

       90.     Surescripts sells the routing transaction to RelayHealth at a “wholesale” rate.

RelayHealth then resells the transaction to a subset of pharmacies and PTVs at a higher “retail”

rate. RelayHealth profits from the margin between the retail rate pharmacies and PTVs pay

RelayHealth and the lower wholesale rate RelayHealth pays to Surescripts. All else equal, the

lower Surescripts’s wholesale rate to RelayHealth, the higher RelayHealth’s margin.




                                                19
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 21 of 56



       91.     Through two contracts, one executed in 2010 and a second executed in 2015,

Surescripts provided RelayHealth with contractual and monetary incentives to convince

RelayHealth’s routing customers to be loyal to the Surescripts routing network.1

       92.     In the February 25, 2010 contract (“the 2010 contract”) between Surescripts and

RelayHealth, RelayHealth was required to use “commercially reasonable efforts to offer terms to

incent exclusive use of the Surescripts network” by pharmacies, PTVs, and EHRs and to assist

Surescripts in clawing back any incentive fees from EHRs.

       93.     Under the 2010 contract, if a RelayHealth customer maintained at least

exclusivity to Surescripts, Surescripts discounted its wholesale price to RelayHealth for that

customer by       . Pursuant to the 2010 contract, RelayHealth entered into contracts with its

pharmacies and PTVs for routing through the Surescripts network. Nearly all of these contracts

went beyond the       Surescripts requirement and mandated that these customers use

RelayHealth exclusively (i.e., for 100% of their required transactions). Because RelayHealth was

exclusive to Surescripts, this provision resulted in nearly all of RelayHealth’s pharmacy and PTV

customers routing all of their transactions through Surescripts. As an October 2012 RelayHealth

presentation put it, RelayHealth’s strategy was to “[m]ove non-exclusive customers to exclusive

wherever possible.”

       94.     RelayHealth also provided Surescripts with feedback as to RelayHealth’s

customers’ exclusivity status. For example, in 2012, Surescripts instructed RelayHealth to

inquire into the loyalty status of a routing customer called Transaction Data Systems d/b/a Rx30

(“Rx30”). RelayHealth did so and informed Surescripts that Rx30 was not loyal.

1
  As alleged below in paragraphs 137-156, Surescripts also feared entry by RelayHealth in
routing. Due to these concerns, Surescripts took additional actions in these agreements to
eliminate the risk of competition from RelayHealth.


                                                20
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 22 of 56



       95.      Under the 2010 contract, RelayHealth also entered into contracts with EHRs for

routing through the Surescripts network. These contracts were typically for a length of two years

or more, contained express exclusivity requirements to RelayHealth, and provided incentive

payments to EHRs only if an EHR was 90-100% exclusive to the Surescripts network. Again,

because Surescripts was the only routing network to which RelayHealth provided access, this

provision resulted in nearly all of RelayHealth’s EHR customers routing all of their transactions

through Surescripts. For each exclusive routing transaction, Surescripts paid RelayHealth an

incentive payment. RelayHealth then passed a portion (typically        ) of those incentives on to

its EHRs, but only if they met RelayHealth’s exclusivity requirements.

       96.      RelayHealth’s contracts with EHRs also required repayment of all incentive fees

paid to the EHR if the EHR failed to comply with RelayHealth’s exclusivity requirement.

       97.      In the next contract, signed on January 16, 2015 (“the 2015 contract”), Surescripts

renewed its 2010 contract with RelayHealth with modifications. The contract provided

RelayHealth with a        higher wholesale discount for exclusive transactions; increased the

loyalty threshold from               ; and, instead of determining loyalty on a customer-by-

customer basis, determined loyalty on a platform-wide basis (i.e., in order to receive the

discount, RelayHealth had to route        of its total, platform-wide routing transactions through

Surescripts).

       98.      As explained in more detail in paragraphs 151-155 below, the 2015 contract also

required RelayHealth to transfer its EHR connections to Surescripts. RelayHealth therefore no

longer provides routing connectivity to EHRs, except for EHRs associated with McKesson.

       99.      Under the 2015 contract, RelayHealth has not changed its contracts with its end-

user pharmacy and PTV customers to resell Surescripts’s routing connectivity. Thus,



                                                 21
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 23 of 56



RelayHealth’s contracts for Surescripts’s routing network continue to require 100% exclusivity

through today.

       D.        Surescripts locks up a critical EHR and engages in a campaign of threats to
                 enforce its exclusivity provisions.

       100.      While implementing this web of loyalty and exclusive contracts, Surescripts

devoted special attention and resources to locking up a critical EHR: Allscripts. In 2009,

Allscripts represented approximately 25% of Surescripts’s routing and eligibility transactions,

making it a significant customer for any e-prescribing network. Allscripts’s EHR technology

relied on a centralized “hub” infrastructure for all of its customers, meaning that if Allscripts

multihomed with an additional e-prescribing network, the added e-prescribing network could

quickly route e-prescriptions to and from Allscripts’s entire e-prescribing customer base.

Allscripts’s exclusivity was critical to Surescripts two reasons: (1) Allscripts was one of the few

EHRs that was multihoming, using Emdeon as an alternative routing network to Surescripts,

which made Emdeon a more viable threat to Surescripts; and (2) Allscripts had implemented a

new business model in eligibility that cut out Surescripts as the middleman.

       101.      First, Allscripts had contracted with Emdeon for routing since 2007. This

connection allowed Allscripts to route prescriptions to Emdeon’s pharmacy customers without

utilizing the Surescripts network. Emdeon paid Allscripts a routing transaction incentive fee that

was at least       higher than what Surescripts paid Allscripts.

       102.      Surescripts recognized that Allscripts was crucial to Emdeon gaining scale in

routing, overcoming the chicken-and-egg problem, and offering increased competition and lower

prices. Access to Allscripts’s routing transaction volume (through its prescribers) made Emdeon

more attractive to potential pharmacy customers. In a November 17, 2009 email, a senior

Surescripts executive wrote that in order to prevent Emdeon from solving the chicken-and-egg


                                                 22
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 24 of 56



problem, “[t]he key to Emdeon is Allscripts[] (i.e., the key to fighting eRx networks [Emdeon] is

containing their access to POC [point of care, i.e., prescribers]).”

        103.    Second, in September 2009, before Surescripts implemented its loyalty and

exclusive contracts, Surescripts learned that Allscripts was transmitting eligibility requests

around Surescripts’s network directly to a PBM called SXC Health Solutions. This practice of

developing “direct connections” for eligibility with PBMs represented a different means for

Allscripts to receive eligibility information from PBMs and, more broadly, a different model for

e-prescribing, one that cut out Surescripts as a middleman. From Surescripts’s perspective,

Allscripts’s development of direct connections to PBMs made Allscripts “a major competitor and

our largest current risk” in eligibility.

        104.    By May 2010, Allscripts sold or was attempting to sell direct connections to its

prescriber network to at least six PBMs, often at prices below Surescripts’s.

        105.    For example, Allscripts charged at least one PBM a per-transaction price

lower than what that same PBM was paying to Surescripts for the same eligibility transaction.

        106.    PBMs hoped their relationships with EHRs would create a more competitive,

innovative market that would exert pressure on Surescripts to innovate. Many customers have

complained that Surescripts’s eligibility transaction is “not a reliable process” because it

provides only static, non-patient specific formulary information.

        107.    Surescripts realized that Allscripts’s direct eligibility connections were “a long-

term potential threat[] coming true.”

            1. Surescripts locks up Allscripts in 2010.

        108.    Facing these threats, Surescripts implemented a “full combat strategy” to “lock up

. . . Allscripts” through an exclusive contract with Allscripts, which Allscripts and Surescripts

signed on May 31, 2010.
                                                 23
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 25 of 56



        109.       As the preamble to that contract states, “the purpose of this [agreement] is to enter

into a long term arrangement for [Allscripts] to utilize Surescripts exclusively” for both routing

and eligibility.

        110.       The 2010 contract had a term of four years and included several provisions

tailored specifically to Allscripts to ensure exclusivity from Allscripts for both routing and

eligibility.

        111.       First, Surescripts required Allscripts to terminate its routing connection to the

Emdeon network at the expiration of Allscripts’s contract with Emdeon in June 2013. Allscripts,

despite its objections, agreed to this requirement to avoid losing access to Surescripts’s network.

Surescripts’s network is a “must-have” for nearly all EHRs because EHRs must connect to

pharmacies and PBMs to e-prescribe. Allscripts terminated its relationship with Emdeon on June

20, 2013.

        112.       Second, Surescripts grandfathered in Allscripts’s current direct connections with

PBMs but prohibited Allscripts from renewing its eligibility contracts with those PBMs and from

proactively marketing or entering into new eligibility agreements with PBMs. Surescripts also

required Allscripts

               Again, despite its objections, Allscripts complied with this provision because it could

not afford to go without e-prescribing.

        113.       Third, Surescripts imposed a “right of first refusal” procedure on Allscripts’s e-

prescribing business: If any third party sought to do business with Allscripts in either routing or

eligibility, Allscripts was required to set up a meeting with Surescripts and that third party “to

facilitate a connection between such [third party] and Surescripts.” Only if the third party did not




                                                    24
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 26 of 56



want to do business with Surescripts after this meeting could Allscripts engage in business

discussions with the third party for routing or eligibility.

       114.    Fourth, Surescripts required Allscripts to remind its sales and business

development personnel annually of the above terms, and Surescripts maintained the right to

“review and comment” on such annual reminders.

       115.    Allscripts lamented that it had “no choice” but to enter into this agreement as

Surescripts was a “must-have” connectivity vendor, and without a contract, Allscripts would be

unable to connect to pharmacies and PBMs and thus be unable to e-prescribe.

       116.    Surescripts realized that Allscripts was key to crushing Emdeon’s ability to

expand and quashing any alternative e-prescribing business model via Allscripts’s direct

connections to PBMs. Surescripts thus provided Allscripts with “enhanced” or “relatively more

attractive revenue sharing.” Specifically, Surescripts paid Allscripts an incentive of     of the

routing and eligibility fees paid by pharmacy and PBM customers for each transaction,

substantially more than similarly situated EHRs. One slide from an internal Surescripts

presentation, reproduced below, described an early version of its 2010 deal with Allscripts by

including a picture of the movie poster from the 2009 film “The Proposal,” which included the

slogan “HERE COMES THE BRIBE.”




                                                  25
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 27 of 56




       117.    In the five years following the execution of the contract, Surescripts paid

Allscripts approximately              in incentives for routing and eligibility.

           2. Surescripts locks up Allscripts again in 2015.

       118.    In 2014, though Surescripts had successfully forced Allscripts to sever its routing

connection with Emdeon, Surescripts still worried that Allscripts would restart multihoming,

using Emdeon as an alternative, which would, in the words of Greg Hansen, Surescripts’s then-

Executive Vice President and Chief Customer Officer, “create what is essentially a bidding war

for [Allscripts’s prescribers’] transactions or access to their physician community.”




                                                26
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 28 of 56



       119.    That same executive feared that Allscripts “intend[ed] to monetize access to their

physician community,” and Surescripts’s CEO wrote that Allscripts “[is] counting on defection

from our owners to shift the balance of economic power from Pharmacies/PBMs to Physicians.”

       120.    To stifle this “bidding war” and maintain this “balance of economic power,”

Surescripts engaged in a renewed campaign to force Allscripts into exclusivity.

       121.    In the second half of 2014, Surescripts threatened to withhold Allscripts’s access

to Surescripts’s “must-have” e-prescribing network for routing and eligibility. Allscripts in turn

feared that “Surescripts would have cut us off” if Allscripts did not sign a new exclusive

agreement with Surescripts.

       122.    During the same time period, to secure Allscripts’s exclusivity, Surescripts also

threatened (1) to bar Allscripts from using eligibility information obtained from Surescripts’s

network for Allscripts’s electronic prior authorization transactions, which increases efficiency

between prescribers and pharmacies by reducing the time it takes to receive pre-approval for

certain prescription drugs from a patient’s insurer; (2) to cut Allscripts off from Surescripts’s

pharmacy directory, which is necessary to allow a prescriber to locate a patient’s preferred

pharmacy; and (3) to sever Allscripts’s access to a separate service called medication history,

which Allscripts’s prescribers used in both acute and ambulatory settings.

       123.    Surescripts also sought to impose a penalty on Allscripts by making Allscripts pay

millions of dollars if Allscripts did not enter into an exclusive agreement. For example,

Surescripts sent Allscripts an approximately                retroactive invoice for Allscripts’s use

of what was supposed to be a separate free service offered by Surescripts if Allscripts did not

agree to the exclusivity terms Surescripts had proposed. Surescripts also withheld over

        in loyalty incentive payments to Allscripts until Allscripts signed the contract.



                                                 27
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 29 of 56



       124.    Surescripts referred to these tactics as “nuclear missile[s]” and admitted they were

designed to ensure that Allscripts would continue to use Surescripts exclusively. Both

Surescripts and Allscripts understood that these tactics were meant to “exert leverage” over

Allscripts to force it to sign an exclusive agreement for routing and eligibility.

       125.    During this same period, Emdeon again attempted to sign Allscripts up as a

customer by, for example, offering Allscripts increasingly large up-front payments and profit-

sharing arrangements to compensate Allscripts for losing Surescripts’s incentive fees.

       126.    Despite Emdeon’s efforts, Surescripts’s tactics with Allscripts were successful.

On January 31, 2015, Allscripts signed a new amendment with Surescripts, extending the term of

the underlying exclusive contract for five years.

       127.    On June 29, 2018, after Allscripts and Surescripts became aware that the FTC was

investigating their conduct, Allscripts and Surescripts entered into a new amendment that deleted

some of the more restrictive provisions contained in the 2010 Allscripts-Surescripts agreement

and the 2015 amendment. That 2018 amendment, however, did not alter the fact that Allscripts

was still required to use Surescripts exclusively for routing and eligibility or face financial

penalties.

       E.      Surescripts’s scheme has succeeded in excluding all meaningful competition
               from both routing and eligibility.

       128.    Over the last 10 years, Emdeon attempted unsuccessfully to expand its presence

in the routing market and, later, in the eligibility market. Beginning in 2009, Emdeon attempted

to convince pharmacies and EHRs to use its network to route transactions, circumventing the

Surescripts network. Doing so would require these pharmacies and EHRs to become non-loyal to

Surescripts or RelayHealth and pay back the discounts or incentive payments pharmacies and

EHRs already received. In many cases, Emdeon approached these potential customers with lower


                                                 28
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 30 of 56



per-transaction pricing than Surescripts charged, higher per-transaction incentive payments than

Surescripts paid, and no loyalty requirements.

       129.    However, Emdeon was not successful. Many pharmacies and EHRs refused to

connect to Emdeon, since doing so would trigger the massive penalty provisions in their

contracts with Surescripts or RelayHealth and cost routing customers millions of dollars through

increased prices or, for EHRs, decreased incentive payments. Because Emdeon could not expand

its connectivity, it could not deliver low enough pricing on a high enough volume of transactions

to make up for the huge penalties inflicted on any pharmacy or EHR that chose to become non-

loyal to Surescripts. There was no price (or incentive payment) that Emdeon could offer that

would offset the penalty customers would receive by becoming non-loyal to Surescripts.

       130.    Surescripts executives knew that its loyalty scheme was working as intended.

They repeatedly admitted that Surescripts’s web of exclusive contracts quashed any competitive

threat. As Surescripts explained to a RelayHealth pharmacy end customer, Rite Aid, in early

2010, because of the loyalty scheme there was no price Emdeon could offer that would reduce

Rite Aid’s total routing costs:




                                                 29
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 31 of 56




       131.   In the above slide, Surescripts explained to Rite Aid how its loyalty scheme

disrupted the price-setting mechanism of the routing market.

       132.   In September 2010, Surescripts articulated how its exclusive contracts restricted

Emdeon’s expansion and reduced its potential to reach critical mass:

       Surescripts’s efforts to lock in our customers through Loyalty programs have
       likely had a strong impact to Emdeon’s initial strategy. With most top Prescriber
       Vendors signed to Loyalty Incentive plans, and, a significant portion of the
       Pharmacy industry signed to Loyalty pricing plans (direct and via [RelayHealth]),
       Emdeon’s ability to expand their direct connection to prescribers and pharmacies
       has been greatly reduced. Emdeon’s ability to rapidly become a full national
       alternative to Surescripts is diminished.

       133.   In October 2010, a Surescripts vice president wrote “the loyalty/incentive strategy

and execution made a very effective counter to the Emdeon/eRX acquisition. It[’]s nice when a

plan comes together.”


                                               30
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 32 of 56



       134.    In that same month, Surescripts described how its loyalty program foreclosed

Emdeon from the market by disabling Emdeon’s ability to compete on price: “eRx/Emdeon can

undercut Surescripts on price, but only on a margin of volume . . . and Surescripts pricing

differential on pharmacy side and loyalty incentive program on POC side are worth more than

eRx / Emdeon’s proposition on <10% of scripts.”

       135.    When Emdeon’s initial efforts to expand failed, Emdeon attempted a new strategy

designed to work around Surescripts’s massive financial penalty provisions. Emdeon resells the

Surescripts routing transaction to a group of pharmacies that use a PTV called PDX. Emdeon

sought to gain critical mass on the EHR side by

                     With the PDX pharmacies disconnected from the Surescripts network,

EHRs would be free to route directly to Emdeon without incurring Surescripts’s penalties for

being non-loyal. This is because under Surescripts’s contracts with EHRs, EHRs would not be

penalized for routing to a pharmacy that could not be reached using the Surescripts network.

Despite an organized campaign to attempt to sign up EHRs to contingent contracts (where the

EHR would agree to route through Emdeon only if Emdeon disconnected its pharmacies from

the Surescripts network), Emdeon was unable to execute enough contracts to obtain enough scale

to become viable in e-prescribing and solve the chicken-and-egg problem. In the midst of this

campaign, Allscripts severed its connection with Emdeon, as required by Allscripts’s 2010

agreement with Surescripts, a move Emdeon described as a “devastating” blow, and one that

pushed Emdeon almost completely out of the market.

       136.    In late 2013, Emdeon again attempted to compete with Surescripts, this time in

eligibility. Emdeon approached potential PBM customers with lower pricing than Surescripts as

well as offers to innovate in ways that would respond to PBM complaints regarding the quality



                                                31
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 33 of 56



of Surescripts’s eligibility service. Although Emdeon gained some traction, it ultimately could

not acquire the critical mass of PBMs and EHRs needed to overcome Surescripts’s loyalty

provisions.

       F.        Surescripts ensures that RelayHealth does not compete in the routing
                 market.

       137.      In 2003, Surescripts and RelayHealth signed an agreement in which RelayHealth

expressly agreed not to compete with Surescripts in routing, meaning that while RelayHealth

could resell Surescripts’s routing services to certain customers, it could not compete with

Surescripts by standing up its own routing network. As Surescripts was formulating its plan to

push its exclusive contracts into the markets, Surescripts executives knew that its most recent

agreement with RelayHealth was scheduled to expire on April 10, 2010, and along with it

RelayHealth’s contractual obligation not to compete against Surescripts in routing.

              1. Surescripts recognizes the threat of competition in routing from
                 RelayHealth.

       138.      In an August 2008 strategic risk analysis memorandum, Surescripts executives

recognized that RelayHealth and its corporate parent, McKesson, presented a “significant threat

in the near to longer term,” particularly the threat that “RelayHealth will create a competitive

[routing] network to [Surescripts].” Such competition from RelayHealth would cause Surescripts

to lose transaction volume but would produce consumer benefits in the form of lower prices,

increased innovation, and more choice.

       139.      McKesson sells pharmaceutical and medical products as well as business services

to pharmacies, hospitals, and health systems throughout North America and internationally.

McKesson has sold and currently sells pharmacy management software to pharmacies.

McKesson has also sold EHRs to hospitals and other health systems. In fiscal year 2008,



                                                32
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 34 of 56



McKesson generated nearly $102 billion in total revenue and was ranked 15th on the Fortune

500 list.

        140.   In a January 2009 Surescripts presentation titled “McKesson Strategy,”

Surescripts executives worried that failure to renew a contract with RelayHealth containing the

routing non-compete would mean that the “[r]isk of RelayHealth becoming a competitor

remains,” leaving RelayHealth free to use its business relationships with pharmacies, PBMs, and

EHRs to stand up its own routing network and go head-to-head with Surescripts. In the same

presentation, Surescripts recognized that it “[m]ay not be able to compete on transaction fees due

to lack of products/services to bundle pricing.”

        141.   Surescripts executives understood that McKesson’s ownership of RelayHealth

“presents an additional threat to [Surescripts].” They recognized that McKesson was a “Fortune

15 Company” with “[$]1.4 billion in cash” and “[d]iverse product offerings that span many

healthcare markets serving many key stakeholders in healthcare.”

        142.   McKesson also provided RelayHealth with an immediate customer base, as

McKesson had its own EHR and PTV offerings. In 2010, for example, McKesson owned and

operated several EHR software platforms, including McKesson Horizon Clinicals, Practice

Partner, and RelayHealth Consumer. McKesson also provided technology to pharmacies that

included routing capabilities, including its PharmacyRx pharmacy management system.

        143.   Surescripts realized that RelayHealth had a “natural ability to capture 15-20% of

transaction volume” if RelayHealth started connecting just McKesson’s own pharmacy and

prescriber products, to say nothing about what gains RelayHealth would make if it started

competing in routing more broadly.




                                                   33
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 35 of 56



       144.    Surescripts executives also knew that RelayHealth had experience in a closely

related market, claims adjudication, a service that allows pharmacies to bill a patient’s insurer for

a prescription, usually via the PBM contracted with the patient’s insurer. Executives from both

RelayHealth and Surescripts often referred to claims adjudication as an “adjacent” market to

routing and eligibility. RelayHealth’s experience provided it with a distinct advantage to

standing up a routing network. RelayHealth already contracted with many pharmacies, PTVs,

and PBMs for claims adjudication. RelayHealth’s claims adjudication business and Surescripts’s

routing and eligibility business shared many of the same customers. In January 2009, Surescripts

wrote that RelayHealth “plays in the same space as S[urescripts] (i.e. offering connectivity

services to same customers).”

       145.    Critically, RelayHealth also already had numerous contracts with both pharmacies

and EHRs due to its reseller relationship with Surescripts. In 2009, RelayHealth connected

approximately 50% of pharmacy routing transactions to the Surescripts network—including

large pharmacies like Walgreens and Rite Aid—and approximately 40% of EHR routing

transactions to the Surescripts network, including the large EHR Allscripts. RelayHealth thus

enjoyed an advantage held by no other competitor: It had already partially solved the chicken-

and-egg problem by having relationships with customers on both sides of the routing network.

       146.    Surescripts was concerned not only that RelayHealth would enter routing, but also

that RelayHealth would offer a lower price that Surescripts would be unable to match.

Surescripts executives believed in 2009 that the unit costs for claims adjudication were between

one and two cents and that RelayHealth could bring its e-prescribing costs down to that price

given its scale and McKesson’s funding. At that time, Surescripts’s e-prescribing unit costs were

approximately 600% higher and its net price to customers approximately 10 times higher.



                                                 34
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 36 of 56



       147.     Surescripts understood that, if RelayHealth “dropped the price down to 2 to 3

cents . . . they would have been able to take the business away from us.” Surescripts’s former

Chief Strategy Officer also testified that he believed RelayHealth would be able to enter at a

lower price than Surescripts could offer:

       I assumed Relay and Emdeon would consider offering e-prescribing for what I
       estimated to be their marginal costs that they wanted to be        or they might
       just try to undersell that and lose
       to put us out of business and then combine and bundle that with their other fixed
       cost infrastructures on the adjudication side.

             2. Surescripts eliminates the RelayHealth threat in 2010.

       148.     These fears dominated Surescripts’s negotiations with RelayHealth. As a result,

Surescripts’s primary goal during negotiations was to “[m]aintain current status where

RelayHealth does not become a competitor” or, as the same presentation explained, use a

strategy where Surescripts would “keep friends close but enemies closer.” RelayHealth’s own

internal documents show that since 2003, “[t]he dominant contracting strategy . . . [was] to

prevent [RelayHealth] from competing [with Surescripts].”

       149.     Surescripts achieved this goal. In its February 25, 2010 contract with

RelayHealth, Surescripts obtained RelayHealth’s renewed promise not to compete in routing for

an additional six years. Surescripts has repeatedly admitted that the sole value of this 2010

contract is that it prevents RelayHealth from competing against Surescripts in routing. One 2012

memo, circulated to senior Surescripts executives, explicitly stated, “[o]ur VAR contract

prevents them from competing against us for core e-prescribing Routing. This was a substantial

concern when we were founded [in 2008], and should still be a consideration today due to

R[elay]H[ealth]’s vast market share in the Pharmacy financial Claims Processing part of our

industry.”



                                                 35
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 37 of 56



       150.    As early as December 2008, Surescripts’s own documents characterized its

relationship with RelayHealth as adding very little, if any, value to e-prescribing and described

RelayHealth as a “value subtract,” writing that “the only real value that we are getting out of the

RelayHealth relationship at this point is the exclusivity.” In 2013, Surescripts executives stated

the only benefit it received from the 2010 contract with RelayHealth was that the contract

“help[ed] keep market share.” In March 2014—four years into the five-year term of the 2010

contract—Surescripts executives were still asking themselves in a presentation entitled

“RelayHealth Partnership Assessment,” “How does Surescripts + RelayHealth = more value than

Sur[e]scripts alone?” Surescripts’s then-Chief Customer Officer described RelayHealth as

“sh[*]tty, non-value added partners but at least they’re one of our biggest competitive threats.”

           3. Surescripts eliminates the RelayHealth threat again in 2015.

       151.    In 2015, as Surescripts’s agreement with RelayHealth was nearing expiration,

Surescripts’s fears of entry by RelayHealth persisted, and so it took renewed action to neutralize

RelayHealth. On January 16, 2015, Surescripts and RelayHealth executed a three-year contract

that automatically renewed each year unless either party terminated it and is still in place today.

This contract (1) tightened RelayHealth’s loyalty requirements; and (2) exchanged the explicit

routing non-compete provision for an implicit one, requiring RelayHealth to transition its EHR

routing relationships to Surescripts directly.

       152.    First, Surescripts provided additional financial incentives to RelayHealth to

remain exclusive in routing, including by changing the definition of RelayHealth’s “loyalty” to

Surescripts from a customer-by-customer basis to a platform-wide basis. See paragraph 97.

       153.    Second, Surescripts forced RelayHealth to terminate its routing relationships with

EHRs. RelayHealth, through its reseller arrangement with Surescripts, had connections to both

the pharmacy and the EHR sides of the routing network. Surescripts executives knew that EHRs
                                                 36
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 38 of 56



were the “gatekeepers” to prescribers. A link to the EHR side is necessary to operate a two-sided

routing network, meaning that this termination would prevent RelayHealth from being a

competitive threat in routing. In exchange for removing the explicit non-compete provision from

the contract, Surescripts required RelayHealth to terminate its EHR connections for routing and

transition those relationships directly to Surescripts. RelayHealth agreed, hoping that removing

Surescripts’s control over its relationship with these customers would allow RelayHealth to

collaborate directly with EHRs on innovative value-added services.

       154.    Surescripts executives understood that the 2015 contract continued to prevent

RelayHealth from entering the routing market despite the removal of the explicit non-compete

provision. On February 4, 2015, shortly after the 2015 contract was executed, Surescripts’s Chief

Quality Officer emailed Surescripts’s Vice President of Customer Accounts: “[C]ongratulations.

This is a hugely important deal for us, cementing our position for at least several more years. I

would not want to have Relay out there competing directly against us.”

       155.    An internal Surescripts competition analysis from that time characterized

RelayHealth as a “Core Systemic [Competitor],” a “Direct Competitor to Core E-Prescribing

Network,” and a company that is “[a]lways one to watch since they have the assets and know-

how to be a threat.” However, that same document continued, “[Surescripts] has done an

exceptional job removing them as EHR aggregator” when assessing the competitive threat

RelayHealth posed to Surescripts in routing.

       156.    As of today, RelayHealth has not entered the routing market.




                                                37
         Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 39 of 56



   VI.        SURESCRIPTS POSSESSES MONOPOLY POWER IN EACH RELEVANT
                                      MARKET

         A.     The relevant markets.

         157.   There are two relevant product markets: (1) routing transactions; and (2)

eligibility transactions.

         158.   Other means of transmitting routing and eligibility information (e.g., paper,

phone, fax) are not reasonably interchangeable with electronic prescribing because of safety

concerns and greater efficiencies associated with electronic prescriptions, as well as the

requirements of MIPPA, the HITECH Act, and HHS regulations.

         159.   The relevant geographic market is the United States. Large pharmacy chains,

EHRs, and PBMs that make up nearly all of routing and eligibility transactions have nationwide

reach. Surescripts’s customers enter into contracts with nationwide reach, and prices and contract

terms are set at a national level. Federal laws and regulations that govern e-prescribing i.e.,

MIPPA, HITECH, and associated CMS regulations, operate on a national level, further

supporting a national geographic market.

         160.   Thus, the relevant markets in which to evaluate Surescripts’s conduct are

(1) routing transactions in the United States; and (2) eligibility transactions in the United States.

         B.     Surescripts possesses monopoly power in the relevant markets.

         161.   Surescripts possesses durable monopoly power in each relevant market.

         162.   Surescripts has possessed monopoly power in each relevant market from 2009 to

present.

         163.   There is substantial direct evidence that Surescripts possesses monopoly power.

         164.   Direct evidence of Surescripts’s monopoly power includes its demonstrated

ability to control price in each relevant market.


                                                    38
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 40 of 56



        165.   Surescripts has the ability to price substantially higher than its competitors in the

routing market without losing customers. This includes both prices to pharmacies and incentives

to EHRs.

        166.   Surescripts has the ability to price substantially higher than its competitors in the

eligibility market without losing customers. This includes pricing to PBMs and incentives to

EHRs.

        167.   Other direct evidence of Surescripts’s market power includes the lack of any

meaningful competition in either routing or eligibility from 2009 to the present. For example,

when Surescripts refused to do business with a customer called PrescribersConnection in 2015,

that customer was left with nowhere else to turn and as a result has had its e-prescribing

functionality permanently disabled—a situation that persists today. Surescripts’s customers agree

that there are “no 1-1 alternatives to Surescripts,” that Surescripts is a “must-have” network and

a “monopolist for a key service.”

        168.   There is substantial indirect evidence that Surescripts possesses monopoly power.

        169.   Surescripts possesses extremely high market shares in both relevant markets.

Surescripts possesses at least 95% market share in the market for routing (by transaction

volume). Surescripts possesses at least 95% market share in the market for eligibility (by

transaction volume). As one Surescripts vice president put it in 2015: “We are a Monopoly when

it comes [to] Prescription Routing.” Even if routing and eligibility were to be considered part of

the same market, Surescripts’s own then-Executive Vice President and Chief Customer Officer

testified that Surescripts’s market share in both products is “[l]ikely north of 90 percent.”

        170.   The markets for routing and eligibility are characterized by barriers to entry in the

form of the chicken-and-egg problem, which Surescripts’s conduct has rendered unsolvable.



                                                 39
         Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 41 of 56



  VII.        SURESCRIPTS’S ANTICOMPETITIVE COURSE OF CONDUCT HARMED
                             COMPETITION AND CONSUMERS

         171.    Surescripts’s anticompetitive course of conduct has resulted in the total exclusion

of any meaningful competition in e-prescribing, repeated threats to customers to force

exclusivity, higher prices, reduced innovation, and lower output.

         A.      Surescripts’s conduct forecloses each market from all meaningful
                 competition, eliminating consumer choice.

         172.    Surescripts, whether directly or indirectly via RelayHealth, successfully imposed

loyalty requirements on nearly all of its pharmacy and PTV customers. By January 2011,

Surescripts had loyalty contracts with at least 78% of the pharmacy side of the routing market

(by transaction volume), including contracts with major pharmacies such as CVS, Walgreens,

Walmart, and Rite Aid. Nearly all of the loyalty contracts with these pharmacies have been

renewed or amended with similar loyalty provisions, and they remain in place today. Currently,

Surescripts, whether directly or indirectly via RelayHealth, has loyalty contracts with at least

79% of pharmacy routing transaction volume. These contracts therefore foreclose nearly 80% of

the pharmacy side of the routing network from potential competition. The result is to make

multihoming substantially more expensive for customers, rendering the chicken-and-egg

problem insoluble for Surescripts’s competitors.

         173.    Surescripts also imposed loyalty requirements on nearly all of its PBM customers.

By October 2011, Surescripts had exclusivity contracts with at least 74% of the PBM side of the

eligibility market (by transaction volume), including contracts with major PBMs such as Express

Scripts, CVS, and Medco. Nearly all of the loyalty contracts with these PBMs have been

renewed or amended with similar loyalty provisions, and they remain in place today. Currently,

Surescripts has exclusivity contracts with at least 78% of PBM eligibility transaction volume.

These contracts therefore foreclose nearly 80% of the PBM side of the eligibility network from

                                                  40
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 42 of 56



potential competition. The result is to make multihoming substantially more expensive for

customers, rendering the chicken-and-egg problem insoluble for competitors.

       174.    Surescripts, whether directly or indirectly via RelayHealth, also imposed loyalty

requirements on nearly all of its EHR customers. By November 2010, Surescripts had exclusivity

contracts with at least 81% of the EHR routing market and at least 78% of the EHR eligibility

market (both measured by transaction volume), including contracts with major EHRs such as

Allscripts, Epic, and eClinicalWorks. Nearly all of the loyalty contracts with these entities have

been renewed or amended with similar loyalty provisions, and they remain in place today.

Currently, Surescripts—which in 2015 took direct control over nearly all of RelayHealth’s

routing contracts with EHRs—has loyalty contracts with at least 87% of EHR routing and

eligibility transaction volume. These contracts therefore foreclose well over 80% of the EHR

sides of the routing and eligibility networks from potential competition. The result is to make

multihoming substantially more expensive for customers, rendering the chicken-and-egg

problem insoluble for competitors.

       175.    The foreclosure percentages in paragraphs 172-174 likely understate the

foreclosure effects of Surescripts’s conduct, which is based on contracts for Surescripts’s largest

routing and eligibility customers. There is a “long tail” of smaller Surescripts customers that are

also foreclosed by the same loyalty contracts described above, which only further increases the

percentage of each side of each market that Surescripts has been able to foreclose.

       176.    Surescripts’s loyalty contracts disrupt competition in routing and eligibility.

Because Surescripts has foreclosed at least 70-80% of each of the routing and eligibility markets,

even when a competitor offers lower per-transaction prices, no customer will do business with

that competitor because that competitor cannot lower the customer’s total e-prescribing cost.



                                                41
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 43 of 56



Because of Surescripts’s conduct, no competitor can gain enough scale to solve the chicken-and-

egg problem and compete with Surescripts. Customers, including PBMs, EHRs, and pharmacies,

are all harmed by not having any choice of routing or eligibility provider.

       177.    A pharmacy would sign up with a Surescripts competitor—and thus incur non-

loyalty penalties via higher prices or clawbacks—only if the competitor can route enough

prescriptions from EHRs that are priced low enough to create sufficient savings to offset the

pharmacy’s losses from the foregone Surescripts discounts. Likewise, an EHR will sign up with

a Surescripts competitor—and thus incur non-loyalty penalties via eliminated incentive payments

or clawbacks—only if the competitor can pay the EHR high enough incentives on a sufficient

number of transactions to offset the EHR’s losses from the foregone Surescripts payments. This

same logic applies to PBMs and EHRs for eligibility.

       178.    Surescripts’s loyalty regime ensures that no customer could ever attain a lower

total cost by multihoming, even if Emdeon or some other competitor offered that customer, in

the words of one of Surescripts’s former vice presidents, “some phenomenally low amount” on

the transactions sent through Emdeon’s network.

       179.    Pharmacies and PBMs receive discounts from Surescripts in exchange for

agreeing to exclusivity. A competing platform that sought to convince a pharmacy or PBM to

multihome would need to offer a lower price to compensate that customer for losing its loyalty

discount with Surescripts. Due to the limited connections to EHRs that a competing platform

could offer, the compensating price would have to be negative, meaning the competing platform

would have to pay pharmacies and PBMs for each routing and eligibility transaction.

       180.    Similarly, EHRs receive incentive fees from Surescripts in exchange for agreeing

to exclusivity. A competing platform that sought to convince an EHR to multihome would need



                                                42
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 44 of 56



to offer higher incentive fees to compensate that customer for losing its incentive fees from

Surescripts. Due to the limited connections to pharmacies and PBMs that a competing platform

could offer, the compensating incentive fees would be unprofitable for an equally efficient

competitor.

        181.    By foreclosing approximately 80% of both markets and making the chicken-and-

egg problem insoluble, Surescripts has ensured that no other competitor can be or remain viable

in either routing or eligibility, or both.

        B.      Surescripts forces its routing and eligibility customers into exclusivity.

        182.    Many pharmacy, PBM, and EHR customers that have entered into loyalty

contracts with Surescripts would prefer the option of having a competing network for routing and

eligibility. However, because these pharmacies, PBMs, and EHRs compete with other

pharmacies, PBMs, and EHRs, they cannot absorb higher e-prescribing costs and remain

competitive. Thus, Surescripts’s customers lack the realistic ability to refuse Surescripts’s loyalty

requirements or pricing.

        183.    As one Surescripts EHR customer explained, despite “strongly object[ing] to the

. . . exclusivity provisions” in Surescripts’s contract, it had no choice but to agree to Surescripts’s

exclusivity provision “[b]ecause there were no alternative providers that could meet all of its

needs.” Though the customer recognized “that the inclusion of the exclusivity provisions

provided Surescripts with the ability to protect its dominance in the e-prescribing market place,”

the EHR customer had “to enter into a contract that included those provisions if [the EHR]

wanted to enter into e-prescribing.”

        184.    Another Surescripts customer similarly feared that “Surescripts would have cut us

off” if that customer did not sign an exclusive agreement with Surescripts.



                                                  43
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 45 of 56



        185.    Surescripts today thus no longer competes on the merits, but instead relies on its

size, its ability to force customers into exclusivity, and the success of its loyalty program to

maintain its monopolies.

        C.      Surescripts’s conduct has led to higher net prices for routing and eligibility.

        186.    As Surescripts’s then-Vice President of Corporate Strategy testified: “[P]ricing

isn’t dictated by competition at Surescripts.”

        187.    But for Surescripts’s anticompetitive course of conduct, the net price (taking into

account both sides of the network) of the routing transaction would be lower. Similarly, without

Surescripts’s loyalty contracts, the net price (taking into account both sides of the network) of the

eligibility transaction would be lower.

        188.    The handful of instances where a single customer uses both the Surescripts

network and the Emdeon network shows that Emdeon is able to provide lower per-transaction

prices or higher per-transaction incentives.

        189.    For example, Kroger is one of the last companies that uses both Emdeon and

Surescripts via RelayHealth for routing. Emdeon charges Kroger pharmacies per-transaction

prices that are at least         lower than Surescripts’s prices. Similarly, Emdeon has sold the

routing transaction to one PTV customer, Rx30, at a per-transaction price          lower than

Surescripts’s per-transaction price, and has offered to sell to another PTV customer, QS/1, at a

per-transaction price          lower than Surescripts’s.

        190.    For eligibility, Emdeon offered prices           lower than Surescripts’s. A

Surescripts PBM sales employee noted on May 20, 2015 that “competitors are under-pricing us

such as Em[]deon with Eligibility. We are hearing that Emdeon is committing to promising half

of our rate (           ) compared to our         . We are starting to hear a significant amount of

concern that our price is too high . . . . Emdeon is making an aggressive [effort] now towards
                                                  44
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 46 of 56



MedImpact. They are about [to] launch a pilot together in a           transaction rate.” Yet there

is no evidence that Surescripts attempted to match Emdeon’s price for eligibility. Additionally,

Allscripts charged at least one PBM (a PBM that had a direct connection with Allscripts) a price

     lower than what that same PBM was currently paying to Surescripts for the same eligibility

transaction.

       191.    On the EHR side, Surescripts understood and acknowledged its ability to price

above the competitive level. In an email exchange concerning EHR eClinicalWorks’s attempts to

negotiate for higher incentive payments, one Surescripts executive explained to another that

“[eClinicalWorks’s] position in negotiating for more and more $$ only seems relevant when

there are at least 5 more ‘Surescripts’ from which to choose. Today there is just one Surescripts.”

       192.    Emdeon was willing to pay higher incentives to EHRs. For example, in 2010

Emdeon paid Allscripts incentives that were          higher than what Surescripts and RelayHealth

paid Allscripts. And Emdeon continued to pay Allscripts incentives that were               higher

than Surescripts’s until Allscripts was forced to disconnect from Emdeon in June 2013. Emdeon

has also offered to pay higher incentives to EHRs such as           and                .

       193.    Because the loyalty contracts limited competitors’ expansion, and thereby reduced

pharmacies’, PBMs’, and EHRs’ leverage with Surescripts, the contracts have enabled

Surescripts, free from competitive discipline, to continue to demand higher prices from

customers.

       194.    For example, in April 2012, Surescripts increased transaction prices (by

decreasing incentive payments) on all EHRs for both routing and eligibility. In contemporaneous

documents, Surescripts recognized that it was able to use its monopoly power to take money

away from EHRs by decreasing these incentive payments. Indeed, no EHR was able to avoid



                                                45
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 47 of 56



these incentive payment reductions. No EHR moved its business to a Surescripts competitor or

refused to do business with Surescripts as a result of this price increase.

       195.    As another example, in July 2013, Surescripts analyzed the impact of Allscripts’s

June 20, 2013 termination of its relationship with Emdeon, which Surescripts required Allscripts

to do in the 2010 Surescripts-Allscripts agreement. In a presentation that was circulated and

commented on by senior Surescripts executives, Surescripts concluded that, because Allscripts

had to stop using the cheaper Emdeon network and now had to route its volume through the

more expensive Surescripts network, those few pharmacy customers that were not loyal to

Surescripts were “feeling economic pain” and “paying ‘more at the pump.’” This same

presentation calculated exactly how much “economic pain” its pharmacy customers such as

Kroger were experiencing: Because Kroger no longer got its Allscripts prescriptions at Emdeon’s

      per-transaction rate, but now had to pay Surescripts’s           per transaction rate—a

increase—Surescripts estimated that Kroger was paying an extra                 in increased routing

costs per year. Kroger documented that the result of being forced to pay Surescripts’s higher

prices meant that its routing costs “increased significantly,” by approximately 25%.

       D.      Surescripts’s conduct has reduced innovation in routing and eligibility.

       196.    Surescripts’s dominance over routing and eligibility has allowed it to control the

rate of innovation, or lack thereof. A lack of competitive discipline and customers’ inability to

change e-prescribing vendors has led to reduced innovation in e-prescribing. As one RelayHealth

senior executive testified: “I can tell that in general that the industry wants e-prescribing to

evolve, and it’s not.”

       197.    Surescripts agrees. As Surescripts’s former Chief Strategy Officer testified, from

the time he joined Surescripts until when he left in 2012, that he “saw a bloated organization that

wasn’t lowering cost, not delivering where people would feel like they were true customers.” A
                                                  46
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 48 of 56



January 2013 Surescripts presentation forwarded to Surescripts’s Executive Vice President and

Chief Customer Officer summarized the issue aptly: “There’s a ‘we’ve got such a dominant

market position in e-prescriptions, who’s going to come in and threaten us?’ attitude.”

        198.    Surescripts’s agreements with RelayHealth provide examples of how, in

RelayHealth’s words, “[t]he current [RelayHealth] relationship with [Surescripts] . . . inhibits

innovation.”

        199.    Significantly, this innovation would have occurred in not just the routing market,

but also in the eligibility market. Because of Surescripts’s conduct, however, consumers have

had to wait many years to receive the benefits of such innovation, if consumers ever received

those benefits at all.

        200.    For example, the 2010 Surescripts-RelayHealth contract called for the two

companies to co-develop an initial list of 27 different value-added services, including Adherence

Monitoring, Prescription History to Hospitals, Print @ Patient Cell Phone, Rx Claim Pre-

Adjudication, Real-Time Benefit Check, electronic Prior Authentication, and REMS-related

services such as prohibiting the prescribing/dispensing of medications with Risk Evaluation and

Mitigation Strategies.

        201.    Not one joint Surescripts-RelayHealth value-added product or service resulted

from the 2010 contract.

        202.    Similarly, not one joint Surescripts-RelayHealth product or service has resulted

from the 2015 contract.

        203.    As alleged above, see paragraphs 137-156, Surescripts repeatedly described the

sole value of its agreements with RelayHealth as keeping RelayHealth’s customers exclusive to

Surescripts and preventing RelayHealth from competing against Surescripts in routing.



                                                47
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 49 of 56



       204.    On numerous occasions, RelayHealth unsuccessfully attempted to collaborate

with Surescripts to develop these value-added services. One RelayHealth executive testified that

Surescripts proved to be “not very innovative or cooperative when it comes to value-added

services” and that Surescripts’s “words were much rosier than their actions, and [RelayHealth]

presented many solutions from a value-add perspective, and they seemed to fall on deaf ears, and

they were not pursued.” The failure of Surescripts and RelayHealth to collaborate “wasn’t for a

lack of trying on [RelayHealth’s] part.” Surescripts never provided an explanation to

RelayHealth as to why Surescripts chose not to collaborate with RelayHealth on any value-added

services listed in the 2010 contract.

       205.    For example, the 2010 contract called for Surescripts and RelayHealth to co-

develop a real-time benefit check service that would represent a significant improvement over

Surescripts’s existing eligibility service. Unlike Surescripts’s eligibility offering, which relied on

non-patient-specific, static formulary information, real-time benefit check allows a PBM to

transmit patient-specific, real-time formulary information to physicians. Surescripts has known

how to transmit such real-time formulary information since 2005, and RelayHealth expected to

co-develop this service after the signing of the 2010 contract. Indeed, RelayHealth brought up

this and other value-added services proposals at quarterly business meetings with Surescripts

from 2012 to 2014. Surescripts never engaged with RelayHealth in developing real-time benefit

check. Surescripts never shared any confidential or proprietary data, information, or technology

with RelayHealth concerning real-time benefit check or other value-added services.

       206.    Only once RelayHealth understood that Surescripts had no intention to collaborate

did RelayHealth develop value-added services such as real-time benefit check on its own. As

early as 2013, RelayHealth began efforts to develop a real-time benefit check solution by itself,



                                                 48
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 50 of 56



which RelayHealth brought to market in 2017. At that point, facing competition from

RelayHealth, Surescripts finally brought its own real-time benefit check service to market.

       207.    The harms from Surescripts’s conduct with respect to RelayHealth continue

through today. The 2015 Surescripts-RelayHealth agreement, which is currently in effect,

contains an implicit non-compete, see paragraphs 151-156, that prevents RelayHealth from

competing against Surescripts in routing.

       208.    Had Surescripts not completely excluded all competition from the relevant

markets—whether it was Emdeon, RelayHealth, Allscripts, or otherwise—competitive forces

would have spurred Surescripts to innovate faster, bringing (or trying to bring) services such as

real-time benefit check to the market earlier. Consumers were harmed as a result of these

significant innovation delays.

       E.      Surescripts’s conduct has reduced quality in routing and eligibility.

       209.    Similarly, because Surescripts faces no competition, it also has no incentive to

improve its services, resulting in reduced quality to its customers. Again, Surescripts agrees: In

2015, Surescripts wrote, “[b]ecause we didn’t grow up in a competitive environment and we

grew up as a monopoly, we don’t have the best way of dealing with customers.”

       210.    Customers agree. They have echoed these critiques, complaining that Surescripts

has poor customer service, is slow to innovate, impedes EHRs’ ability to innovate due to

stringent certification requirements, and uses opaque pricing strategies. Surescripts’s own

executives report that customers use the following words to describe Surescripts: “monopoly,”

“entrenched,” “slow,” “difficult,” “misleading,” “challenging,” “inconsistent,” and “dictates.”

       211.    To take one example, as early as January 2011 Surescripts knew that many of its

pharmacy customers were dissatisfied with Surescripts’s service surrounding a specific type of

routing transaction called “Denied, NewRx to Follow” or “DNTF,” which small, independent
                                                49
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 51 of 56



pharmacies believed—correctly—caused Surescripts to double-bill the pharmacies for a single

transaction. In October 2012, Surescripts calculated that it was making “             a year in

DNTF transaction charges” despite knowing that this was “a hot issue for independent

pharmacies.” Surescripts, however, did not change its practices on DNTF until April 2013, 27

months after Surescripts’s senior executives knew that Surescripts was double-billing its routing

customers.

       212.    Had Surescripts’s anticompetitive conduct not allowed it to maintain its monopoly

status, consumers would have been able to choose other options that could have provided better

customer service, or at least provided a competitive threat to spur Surescripts to improve the

quality of its own services. But because Surescripts has unlawfully maintained its monopolies

through its exclusive dealing and other anticompetitive arrangements with RelayHealth and

Allscripts, consumers have been denied the quality improvements that competition brings.

       F.      Surescripts’s conduct has reduced quality-adjusted output and overall
               transaction output.

       213.    Surescripts’s conduct has reduced innovation and thus has also reduced quality-

adjusted output. But for Surescripts’s conduct, there would be more and faster innovation in the

routing and eligibility markets.

       214.    In addition to quality-adjusted output, Surescripts’s conduct has also reduced

output as measured by transaction volume. As of 2017, 69% of doctors were utilizing e-

prescribing. But for Surescripts’s conduct, competition for prescribers (via their EHRs) would

likely result in higher incentive payments to EHRs, which would in turn provide incentives to

EHRs to increase its doctors’ utilization of e-prescribing. At least one EHR welcomed the idea of

higher incentives tied to growth: “[W]e would welcome an additional ‘target’ level whereby the

incentive would increase . . . as the volume grows.” And Allscripts told Surescripts that higher


                                                50
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 52 of 56



incentives tied to volume instead of loyalty would allow it to commit “to an increase in

electronic prescription transactions from all our products through the Surescripts network.”

Surescripts, however, rejected these options in favor of contractual language that implemented its

loyalty scheme.

       215.    Additionally, Surescripts’s stringent certification requirements have delayed

adoption and utilization of e-prescribing. Absent the restraints, increased price, innovation, and

quality competition among networks for EHR volume would likely further incentivize or enable

EHRs to increase the utilization of e-prescribing among doctors.

       G.      There is no legitimate procompetitive business justification for Surescripts’s
               conduct.

       216.    As the Senior Vice President of one of Surescripts’s large hospital system

customers wrote in a March 2, 2011 letter to Surescripts’s CEO expressing his “deep concern”

about Surescripts’s exclusivity requirements: “There is no conceivable justification for this

policy other than Surescripts’ desire to maintain an e-prescribing monopoly.”

       217.    Surescripts’s exclusivity requirements do not serve any legitimate procompetitive

business purpose. Increases in adoption and utilization were largely driven by incentives under

MIPPA, the HITECH Act, and a broader movement towards computerized health records

generally. See paragraphs 33-39. While incentive payments to EHRs may increase output, the

exclusivity provisions to which those incentives are tied do not enhance or otherwise further the

adoption or utilization of e-prescribing.

       218.    Surescripts’s exclusivity requirements were not reasonably necessary to reduce

prices. Moreover, Surescripts could have accomplished this objective through less restrictive

alternatives, primarily through discounts based on volume, not loyalty.




                                                51
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 53 of 56



       219.    Surescripts is not a natural monopoly. E-prescribing customers treat Surescripts

like any other vendor, seeking out alternatives to Surescripts for routing and eligibility. A small

number of customers use multiple networks. At least one smaller-scale competitor, Emdeon, has

offered lower pricing and higher incentive payments.

       220.    There is no legitimate procompetitive justification for the features in Surescripts’s

contracts with Allscripts discussed in paragraphs 100-127 above. Indeed, though it was only after

Surescripts and Allscripts became aware of the FTC’s investigation, Surescripts and Allscripts

dropped many of these provisions, yet Surescripts is still able to provide routing and eligibility

services to Allscripts today.

       221.    There is no legitimate procompetitive justification for Surescripts’s routing non-

compete with RelayHealth. Other provisions in the 2010 contract provided strong protections for

any of Surescripts’s proprietary information. Any proprietary information disclosed by either

party to the other in connection with the agreement was protected by the recipient party from

disclosure to others. Any documentation provided by Surescripts under the 2010 contract was

designated proprietary to Surescripts, and RelayHealth could not copy or use that documentation

in any way other than as specifically authorized by the agreement.

                  VIII. VIOLATIONS OF SECTION 5 OF THE FTC ACT

                                             COUNT I
           Monopolization of Routing Arising under Section 2 of the Sherman Act

       222.    The FTC re-alleges and incorporates by reference the allegations in paragraphs 1-

221 above.

       223.    At all relevant times, Surescripts has had monopoly power in the United States

with respect to routing.



                                                 52
        Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 54 of 56



        224.    Surescripts has willfully maintained its monopoly power through its course of

anticompetitive conduct, including its exclusive or de facto exclusive agreements with

pharmacies, PTVs, and EHRs, requiring those entities to use the Surescripts network exclusively

or nearly exclusively for routing, as well as the non-compete provisions in its contracts with

RelayHealth. Collectively, Surescripts’s contracts substantially foreclose the routing market from

actual and potential competition. Through its course of conduct, Surescripts has excluded

competition and willfully maintained its monopoly in routing by not competing on the merits.

        225.    There is no valid procompetitive justification for Surescripts’s exclusionary

conduct in the routing market.

        226.    Surescripts’s anticompetitive acts violate Section 2 of the Sherman Act and thus

constitute an unfair method of competition, in violation of Section 5(a) of the FTC Act, 15

U.S.C. § 45(a).

                                             COUNT II
          Monopolization of Eligibility Arising under Section 2 of the Sherman Act

        227.    The FTC re-alleges and incorporates by reference the allegations in paragraphs 1-

221 above.

        228.    At all relevant times, Surescripts has had monopoly power in the United States

with respect to eligibility.

        229.    Surescripts has willfully maintained its monopoly power through its course of

anticompetitive conduct, including its exclusive or de facto exclusive agreements with PBMs and

EHRs, requiring those entities to use the Surescripts network exclusively or nearly exclusively

for eligibility. Surescripts has also maintained its monopoly power by entering into an especially

restrictive agreement for eligibility with Allscripts. Collectively, Surescripts’s contracts

substantially foreclose the eligibility market from potential competition. Through its course of

                                                 53
       Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 55 of 56



conduct, Surescripts has excluded competition and willfully maintained its monopoly in

eligibility by not competing on the merits.

       230.    There is no valid procompetitive justification for Surescripts’s exclusionary

conduct in the eligibility market.

       231.    Surescripts’s anticompetitive acts violate Section 2 of the Sherman Act and thus

constitute an unfair method of competition, in violation of Section 5(a) of the FTC Act, 15

U.S.C. § 45(a).

                                    IX.   PRAYER FOR RELIEF

       WHEREFORE, Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to

issue a permanent injunction against violations of the FTC Act; therefore, the FTC requests that

this Court, as authorized by 15 U.S.C. § 53(b), 15 U.S.C. § 26, and its own equitable powers,

enter final judgment against Defendants, declaring, ordering, and adjudging:

       1.         That Surescripts’s course of conduct violates Section 5(a) of the FTC Act, 15

                  U.S.C. § 45(a);

       2.         That Defendant is permanently enjoined from engaging in similar and related

                  conduct in the future; and

       3.         That the Court grant other such equitable relief, including equitable monetary

                  relief, as the Court finds necessary to redress and prevent recurrence of

                  Defendants’ violations of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), as

                  alleged herein.




                                                  54
Case 1:19-cv-01080-JDB Document 24-1 Filed 05/03/19 Page 56 of 56
